        Case 2:05-cr-00105-LRS
          Case:                ECF No. 256
                13-70702 02/26/2013          filed 02/26/13
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                                      Office of the Clerk
                     United States Court of Appeals for the Ninth Circuit
                                    Post Office Box 193939
                             San Francisco, California 94119-3939
                                         415-355-8000
Molly C. Dwyer
Clerk of Court                          February 26, 2013


       No.:         13-70702
       D.C. No.:    2:05-cr-00105-LRS-1
       Short Title: Raul Zavala v. USDC-WAESP


       Dear Petitioner/Counsel

       A petition for writ of mandamus and/or prohibition has been received in the Clerk's
       Office of the United States Court of Appeals for the Ninth Circuit. The U.S. Court
       of Appeals docket number shown above has been assigned to this case. Always
       indicate this docket number when corresponding with this office about your case.

       If the U.S. Court of Appeals docket fee has not yet been paid, please make
       immediate arrangements to do so. If you wish to apply for in forma pauperis status,
       you must file a motion for permission to proceed in forma pauperis with this court.

       Pursuant to FRAP Rule 21(b), no answer to a petition for writ of mandamus and/or
       prohibition may be filed unless ordered by the Court. If such an order is issued, the
       answer shall be filed by the respondents within the time fixed by the Court.

       Pursuant to Circuit Rule 21-2, an application for writ of mandamus and/or
       prohibition shall not bear the name of the district court judge concerned. Rather,
       the appropriate district court shall be named as respondent.
